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------ manifest line ---------
BENNIE W. FERNANDEZ
LAW OFFICES OF BENNIE FERNANDE
108 W. MADISON ST
OAK PARK, IL 60302


DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT




Date: October 19, 2021

Case: 19-19994

Loan Number:




Dear Sir/Madame,




Enclosed is correspondence relating to a loan we service for your client.




Sincerely,




Rushmore Loan Management Services LLC




                                                                                                                 --- no inserts ---
                                                                                                                                     Escrow Analysis
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                                                                                                                                          Statement
                                                                                                     Statement Date:                                      October 19, 2021


                                                                                                     Loan Number:




      RAMON A SIERRA
      SILVIA OLIVENCIA
      1907 HOME AVE
      BERWYN IL 60402-1649




   We review your escrow account annually to ensure that you have adequate funds to cover your tax and insurance items for the next 12 months. The amounts billed


   for certain escrow items changed. This statement describes the changes, possible changes to your monthly payments, and your options.




What changed?

                        Property Taxes                                          Homeowner's Insurance


      $9,200.00                                                     $3,200.00



      $9,055.56                                                     $3,122.22



      $8,911.11                                                     $3,044.44



      $8,766.67                                                     $2,966.67



      $8,622.22                                                     $2,888.89



      $8,477.78                                                     $2,811.11



      $8,333.33                                                     $2,733.33



      $8,188.89                                                     $2,655.56



      $8,044.44                                                     $2,577.78



      $7,900.00                                                     $2,500.00

                       Prior              Current                                  Prior               Current



             Taxes increased by $411.57 per year.                       Insurance increased by $490.27 per year.



   Changes in the above items mean that the amount needed in your escrow account increased by $901.84 per year.




How do these changes affect me?
 Based upon the Anticipated Escrow Disbursements and Payments, we have determined that your Escrow Account does not have sufficient funds. If you do nothing, the new


 monthly payment amount for this loan is $1,969.36 (Option 1) which includes a monthly shortage amount of $13.35. However, you may choose to make a one-time escrow


 shortage payment of $160.24   in which case your monthly payment amount will be $1,956.01 (Option 2). Changes to property taxes and insurance premiums are common


 and result in changes to required mortgage payments.




                                       Current                                      Option1- Shortage                  Option 2-Shortage

                                      Payment              Escrow Change         added to payment over                      paid in full

                                                                                      next 12 months

                     Due Date             04/2021                                                      01/2022                        01/2022


     Principal and Interest               $926.36                                                      $926.36                         $926.36


           Escrow Payment               $1,048.15                     -$5.15                         $1,029.65                       $1,029.65


          Escrow Shortage                                                                               $13.35


                       TOTAL            $1,974.51                                                    $1,969.36                       $1,956.01


    A detailed explanation of the calculations for your escrow account is located on page 2.




   Note: 'Online   bill payment users:   Your payment is changing effective 01/01/2022 so     action is required.     Please log into your bank's online account and update your


   payment amount. Thank you!




                                  Please detach this   escrow shortage coupon, write your loan number on a check or money order payable to

                                  Rushmore Loan Management Services LLC          and mail both in the enclosed envelope.



Rushmore Loan Management Services LLC                                                       You have the following options to repay your Escrow Shortage:




ESCROW SHORTAGE COUPON                                                                       A.Repay the Escrow Shortage Monthly—              Do nothing. The total shortage


                                                                                                has been divided over 12 months and $13.35 will automatically be added

Loan Number:                                                                                    to your monthly payment beginning Jan 01, 2022 unless you repay the

Mortgager Name: RAMON A SIERRA                                                                  escrow shortage in full.

                    SILVIA OLIVENCIA                                                         B.Repay the Escrow Shortage in Full by 12/17/21—            While you are not

Escrow Shortage Amount: $160.24                                                                 required by law to pay the entire shortage in one lump sum payment, you may


Escrow Shortage Pay By Date: December 17, 2021                                                  do so if you wish. If you choose to repay the escrow shortage in full, please


                                                                                                submit a check in the amount of $160.24 along with this coupon to the



          Rushmore Loan Management Services LLC
                                                                                                address listed. Your new monthly payment will be $1,956.01 once the



          P.O. Box 514707                                                                       escrow shortage is paid in full.


          Los Angeles, CA 90051-4707
          DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT
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How did Rushmore make the escrow calculations?

 Step 1: Rushmore analyzes all items paid by the escrow account, we then calculate the amount that you’ll likely need to pay these

 bills.

 Step 2: We take your anticipated taxes and/or insurance premiums to determine the total outgoing payments. We then divide the

 total outgoing payments by 12 to determine your monthly escrow amount.

 Your total anticipated tax and/or insurance premium(s) are as follows:

 Annual Property Taxes                                 $9,158.79

 Annual Property Insurance                             $3,197.00

 Total                                                $12,355.79 divided by 12 months = $1,029.65


 Step 3: We calculate the minimum required escrow balance. Your escrow account must have a minimum balance of $0.00 for the

 next year.

 Step 4: We calculate your annual escrow account projection for the coming year. If your monthly escrow balance falls below the

 minimum balance of $0.00, your escrow account experiences a shortage. If our calculation determines that your monthly escrow

 balance will not reach the minimum balance, your escrow account will have an overage.

 The table below demonstrates the estimated activity in your escrow account for the coming year.




What escrow activity is expected in the coming year?

  The highlighted row indicates the lowest estimated escrow balance for the year of -$160.24. The difference between the lowest

  projected balance of -$160.24 and the minimum required escrow balance of $0.00 is $160.24.



  $160.24 is your escrow shortage.


                             PAYMENTS                     ESTIMATED PAYMENTS FROM                                    ESCROW ACCOUNT

                                 TO                            ESCROW ACCOUNT                                                BALANCE

                             ESCROW           MIP/PMI             Taxes            Flood       Homeowner's           Estimated        Required

                             ACCOUNT                                          Insurance             Insurance

            Anticipated

                                                                                            Starting Balance         $4,988.00         $5,148.24
          Date of Activity


              Jan 22           $1,029.65                                                                              $6,017.65         $6,177.89


              Feb 22           $1,029.65                        $4,620.31                                             $2,426.99         $2,587.23


              Mar 22           $1,029.65                                                                              $3,456.64         $3,616.88


              Apr 22           $1,029.65                                                                              $4,486.29         $4,646.53


              May 22           $1,029.65                                                                              $5,515.94         $5,676.18


              Jun 22           $1,029.65                                                                              $6,545.59         $6,705.83


               Jul 22          $1,029.65                        $4,538.48                                             $3,036.76         $3,197.00


               Jul 22                                                                                $3,197.00         -$160.24              $0.00


              Aug 22           $1,029.65                                                                                $869.41         $1,029.65


              Sep 22           $1,029.65                                                                              $1,899.06         $2,059.30


              Oct 22           $1,029.65                                                                              $2,928.71         $3,088.95


              Nov 22           $1,029.65                                                                              $3,958.36         $4,118.60


              Dec 22           $1,029.65                                                                              $4,988.01         $5,148.25




  NOTE:     If this escrow analysis indicates that there is a surplus, it may not mean that you are entitled to receive a return of that surplus. This


  analysis was calculated based on an assumption that the account is current according to the terms of the note and Mortgage/Deed of Trust. If


  the account is behind, in default, or in bankruptcy, this analysis may not reflect the current state of the account or the terms of a bankruptcy


  plan. If there are enough funds in the escrow account the surplus will be mailed to you within 30 days, provided the account is current under the


  terms of the note and Mortgage/Deed of Trust.




              Back of coupon or check intentionally left blank
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What escrow activity occurred since your last analysis?

    The chart below reflects what actually happened in your escrow account since your last analysis.


    Between 07/2021 and 10/2021 a total of $8,010.60 was deposited to your escrow account and a total of $4,538.48 was disbursed

    from your escrow      account as follows. Totals for each disbursements are noted below.


                                   COUNTY/PARIS:       $4,538.48




                 PAYMENTS TO ESCROW                                                                                  ESCROW BALANCE
                                                    PAYMENTS FROM ESCROW ACCOUNT
                           ACCOUNT                                                                                        COMPARISON


     Month of         Estimated            Actual       Estimated          Actual   Description                         Estimated          Actual


      Activity                                                                      Starting Balance                   $5,879.14       -$393.12


       Jul 21           $954.50        $1,048.15        $4,126.91                   COUNTY/PARIS                        $2,706.73        $655.03


       Jul 21                                           $2,706.73                   HAZARD INS.                             $0.00        $655.03


      Aug 21            $954.50                                                                                           $954.50        $655.03


       Sep 21           $954.50                                        $4,538.48    COUNTY/PARIS                        $1,909.00     -$3,883.45


      Oct 21            $954.50        $6,962.45                                                             E          $2,863.50      $3,079.00




          E—Indicates the activity has not yet occurred but is estimated to occur as shown.



  *If there is an amount listed in the “Actual” column under Payments To Escrow Account on Page 2 above, then this is the assumption that was made and

  indicates the amount that would have been paid into escrow for a contractually current loan. This number does not represent payments that were actually

  made by you. As discussed above, these escrow calculations are calculated based on an assumption that the account would be current according to the

  terms of the note and mortgage/deed of trust.



  Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained will be used for


  that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for informational


  purposes only, is not an attempt to collect a debt and does not constitute a notice of personal liability with respect to the debt.
                                                                                                                                                 *
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                                                       ADDITIONAL NOTICES



 Rushmore Loan Management Services LLC          is a Debt Collector attempting to collect a debt.



 Bankruptcy Notice. If you are in bankruptcy or if your obligation to repay this loan was discharged in bankruptcy, this

 informational notice is sent to you in order to comply with statutory requirements. It is not an attempt to collect a debt. You may

 disregard information relating to payment remittance. You are not obligated to make payments and any amount(s) you do pay

 Rushmore is at your discretion.     Please note, however, Rushmore reserves the right to exercise its legal rights, including but not

 limited to foreclosure of its lien interest, only against the property securing the original obligation.



 If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other servicer

 directly to discuss any possible loss mitigation options that may be available to you.



 If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is being

 sent for information purposes only and does not constitute personal liability with respect to the debt.



 LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit

 bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.



 Notice of Error Resolution & Information Request Procedures

 The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan

 Management Services LLC      (RLMS). Please keep this document for your records.



 If you think an error has occurred on your mortgage account or if you need specific information about the servicing of

 your loan, please write us at:



                                                 Rushmore Loan Management Services LLC

                                                              P.O. Box 52262

                                                           Irvine, CA 92619-2262


 All written requests for information or notices of error should contain the following information:

     1. Your name

     2. Account number

     3. Property Address

     4. Description of the error and explanation as to why you believe it is an error or a request for specific information regarding

        the servicing of your loan

     5. Current contact information so we may follow up with you


 All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error

 occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff

 statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up to

 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send you a

 written explanation. You may ask for copies of the documents that we used in our investigation.


 HUD STATEMENT

 Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive

 counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing

 counseling agencies by calling the HUD nationwide toll-free telephone at 1-800-569-4287.


 Equal Credit Opportunity Act Disclosure

 NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of

 race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding

 contract); because all or part of the applicant's income derives from any public assistance program; or because the applicant has in

 good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance with this

 law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20552 or

 Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:                                           Case No. 19-19994

 Ramon Sierra
 Alice Carrasquillo                               Chapter 13
  aka Alice Sierra

 Debtors.                                         Hon. Judge Jacqueline P. Cox

                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on November
10, 2021, before the hour of 5:00 p.m.

          Bennie W. Fernandez, Debtor’s Counsel
          bfernandezgray@gmail.com

          Glenda J. Gray, Debtors’ Counsel
          bfernandezgray@gmail.com

          Thomas H. Hooper, Trustee
          Thomas.h.hooper@55chapter13.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.es.ecf@usdoj.gov
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     Ramon Sierra , Debtor
     Alice Carrasquillo, Debtor
     1907 S. Home Ave.
     Berwyn, IL 60402

Dated: November 10, 2021                     Respectfully Submitted,

                                             /s/ Molly Slutsky Simons
                                             Molly Slutsky Simons (OH 0083702)
                                             Sottile & Barile, Attorneys at Law
                                             394 Wards Corner Road, Suite 180
                                             Loveland, OH 45140
                                             Phone: 513.444.4100
                                             Email: bankruptcy@sottileandbarile.com
                                             Attorney for Creditor
